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4    Telephone: (916)554-2772
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7
                      IN THE UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA      )
11                                 )          CR. NO. S 09-273-JAM
            Plaintiff,             )
12                                 )
               v.                  )          STIPULATION AND PROPOSED
13                                 )          ORDER RE: DESTRUCTION OF BODY
                                   )          BAG AND CLOTHING
14   JOSE ALFREDO ZEPEDA, et al., )
                                   )
15          Defendants.            )
      _____________________________)
16
17        Whereas, the trial in this matter has already been concluded
18   and no party used as evidence and/or desires to use as evidence
19   in any future litigation in this case items identified in
20   discovery produced by plaintiff United States of America as:
21   (1) Item 1B40:     comprised of one pair boots, one pair of socks,
22   one of pair jeans, one of pair sweatpants, one of pair shorts,
23   and one black shirt worn by deceased alleged coconspirator Juan
24   Carlos Herrera-Chavez at the time of his death; and (2) Item
25   1B41:   one body bag used to contain and transport the body of
26   deceased alleged coconspirator Juan Carlos Herrera-Chavez; and
27        Whereas, the Federal Bureau of Investigation, the agency
28   which has current possession of Items 1B40 and 1B41, desires to

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1    destroy these items as it has determined that these items
2    constitute biohazards because the items are soiled with blood and
3    body fluids,
4         It is hereby stipulated and agreed by and between the United
5    States, on the one hand, and defendants Jose Alfredo Zepeda and
6    Clemente Ferrias Arroyo, on the other hand, through their
7    respective counsel that:
8         1.     Defendants forever and irrevocably waive their right to
9    inspect, examine, test, and/or use as evidence Items 1B40 and/or
10   1B41;
11        2.     The United States may in its discretion destroy Items
12   1B40 and/or 1B41.
13
14   DATED:    January 11, 2011                BENJAMIN B. WAGNER
                                               United States Attorney
15
16                                             /s/ Samuel Wong
                                         By:
17                                             SAMUEL WONG
                                               Assistant U.S. Attorney
18
                                               /s/ Dominic Falasco
19   DATED:    January 11, 2011
                                               DOMINIC FALASCO
20                                             Attorney for defendant
                                               Jose Alfredo Zepeda
21
                                               /s/ Michael Chastaine
22   DATED:    January 11, 2011
                                               MICHAEL CHASTAINE
23                                             Attorney for defendant
                                               Clemente Ferrias Arroyo
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1                                        ORDER
2
3         The Court having reviewed, read, and considered the parties’
4    stipulation, and good cause appearing therefrom,
5         The Court hereby adopts in its entirety the parties’
6    stipulation as the Court’s Order, and specifically orders that:
7         1.     Defendants forever and irrevocably waive their right to
8    inspect, examine, test, and/or use as evidence Items 1B40 and/or
9    1B41;
10        2.     The United States may in its discretion destroy Items
11   1B40 and/or 1B41.
12
13   Dated:    January 26, 2011                /s/ John A. Mendez
                                               JOHN A. MENDEZ
14                                             United States District Judge
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